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EXHIBIT A

Case 1:13-CV-01243-RGA Document 101-1 Filed 06/09/16 Page 2 of 47 Page|D #: 860

Offender Status Sheet

Date: 06/08/2016

 

 

 

SB| #: 00470221 Name: DAN|EL B COHEE Sex: M
Location(s): JTVCC Leve|(s): 5 Race: \/VH|TE DOB; 05/06/1982 Sex Offender: [_1
AKA:
Offende,- Type: Sentenced Officer(s):
Level: 5 W W ~ ‘;:\ §§:

Start Date: 04/12/2010 MED: 04/11/2013 STRD: 01/05/2013 ADJ: 01/07/2013 PED: Statutory Day$ Earned: 96. 00
."CAS_E#I _ CRA#! ’§§ Cha_fga Desc"! _ _ Sta!us.\' ` Lemgth_ | Slart 51 MED_ CR{Bcard`l CRI lPR Wk`
§:E_!ou`r@!`Type Judga _Sen. Typa!§§nlence Date Eff l_:`»'&fi¥_-."‘g §__Y z N| D l 0[ E_'§\'§|§ C_°ll"_t= ]
`100§15553"5`3` ` lN_10`041985_ CRH.`J`ACK§N`G '1ST ' _ _ Compléte 3 0""_ ‘ 4/12/_2010"0`4`/`1`1/2013`
`u? 'Richard R Cooch |STANDARD 02/21/2013 01/07/2013 0 0 l

Specia| Condit§ons:

_°“`N*" __&‘-:"_”_'_L_i
\N10041955 5 AuToLvLs
`W AUTOCONL5

` 1N10041985 5 cRT1
1N10041935 5 AuToTls

§ 1N10041989 cRTcD

` 1N10041989 5 AuToLvL5

` lN10041959 5 AuToCONL5
1N10041959 5 AUTOT\S

` \/N1004198501 5 RE|MPO

` vN1004198501 5 CRTCD
\/N1004198501 5 AuToL\/L5

` \/N1004195501 5 AuTocoNL5
\/N1004198501 5 AuToTls

_Cbhf|'i_t§o`r'\ Descrlpi[ph ;"‘ j ; 9

Leve| 5 Sentence. _

|3/5| 5 Sentence.
Other Conditions:

T|S Sentence.
Court Conditions

Leve| 5 Sentence.

Level 5 Sentence.
T|S Sentence.
Conditions imposed on

Court Condilions

Leve| 5 Sentence.
Level 5 Sentence.

TlS Sentence.

| Condition Commants.-

As T`o 1oddodéssé`s`ENTEN`cED"r'o sERvE 3 YEAR(s) AT LEVEL 5.
BEG|NN!NG (]41'12!2(_!1[)_

SENTENCED TO SERVE 3 YEAR(S) AT LEVEL 5 CONSECUT|VE. l

EFF14/12/10 DEF. SENTENCED TO SERVE BYRS L\¢"f:`\, SUSPENDED AFTER
3YRS LV5 FOR 2YRS L\/4CREST, SUSPENDED UPON SUCCESSFUL
COMPLET|ON OF LV4 CREST, BALANCE |S SUSPENDED FOR 18MONTHS
LV3 CREST AFTER CARE, LV4 CREST |S A HOLD @LV5 UNT|L SPACE |S
AVA|L@ SUPERV|S|ONLV4.HAVE NO CONTACT WlTH HENRY XAV|ER,
SUB ABUSE EVAL, MENTAL HEALTH EVAL, ANGER MANAGE|V|ENT
CLASSES JLC

sm§ "
5~5 |
‘%%

 

SENTENCED TO LEVEL»S (EFF. DATE11/19/2010)FOR1 YEARS.
SUSPENDED |M|\/|ED|ATELY FOR LEVEL 5 FOLLOWED BY 1 YEARS AT
LEVEL~3

AS TO 1004008353 SENTENCED TO SERVE 1 DAY(S) AT LEVEL 5,
BEGINN|NG11/19/2010.

SENTENCED TO SERVE 1 DAY(S) /-\T LEVEL 5 CONSECUT|VE.

DOC MAY FLOW DOWN FRO|\/| L4 TO L3 @ ANYT||\/|E. DHB

SENTENCED TO LEVEL-5 (EFF. DATE 02/21/2013) FOR 4 YEARS, 3
MONTHS W|TH 8 DAYS JA|L CRED|TS. SUSPENDED AFTER COMPLET|ON
OF SUBSTANCE ABUSE PROGRA|\/| (DOC D|SCRET|ON) FOLLOWED BY
LEVEL-4 DOC D|SCRET|ON HELD AT LEVEL 5 l
AS TO 1004008353 SENTENCED TO SERVE 4 YEAR(S) AND 3 MONTH(S)
AT LEVEL 5, BEG|NN|NG 02/13/2013. l
SENTENCED TO SERVE 4 YEAR(S) AND 3 MONTH(S) AT LEVEL 5
CONSECUT|VE.

 

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Offender Status Sheet Date: 06/08/2016

 

 

 

    

SB|#: 00470221 Name: DAN|EL B COHEE Sex: M
Location(s): JTVCC Leve|(s): 5 Race: WH|TE DOB; 05/06/1982 Sex Offender: Ll
AKA:
offender Type; M Officer(S)r
Level: 5 “' ;?' v,t;t:,,

Start Date: 02/13/2013 MED:UEHE)'ZUW STRD: 12/22/2016 ADJ: 12/01/2016 PED: Statutory Days Earned: 141_00
|[f'(-_ZA_:SE#T_;;;_. ';ERA_#.-'v: ‘ "_"Charge D:é_s_c»' _ _'= _Status! g nL¢ang_t|‘¢§,~;'";_S'i`a:rt m "| ME_D " CR»"B°a\’d _ CR)‘ "PREWk
|C‘:"PYU TY§"'.”:";:._J,UdQe:.::§ § ' Sen. Typ€n‘ Sentence Da{e ' Eff~ Da‘° ’_' `_"| l § of Pam|a' §court| i §

  

 

 

"`100400`8353 lN10041989 PDWBPP complete -

U7 1 menard Rcooch jSTANDARD '0901/9013 11/1.<)/9010 0 1 11/19/201° 11/19/2°1°

1004008353 `\/N1004198501 \/OP-cARJACKlNG _ current "' ` _`
4 3 0 02/13/2013 05/12/201':-

U7 1 Richard R Cooch lS`|'ANDARD l02/21/2013’02/21/2013 ‘

Special Condit§ons: _u_ _ _ _u _

. CRA# _ l 'Leve_|_ _ __C'o_c?e__ -'| ___ _ _ n Condi!ion Descr§lf\tiun _ m - :"' ' CB_n-d'i't'i'bh?éon¥mehts' '
lN10041985 5 AUTOLVLS LeVeE SEnEnce. :\é T_O 100460£§53 SENTEWC`E_D To sER\/`E_ 3 YEAR(S) AT LE\/EL 5,
BEG|NN|NG 04/12/2010_
lN10041985 5 AUTOCONL5 Level 5 Sentence_ sENTENcED To sERvE 3 YEAR(s) AT LEVEL 5 coNsEcuTlvE_
` lN10041985 5 CRT1 other conditions; EFF;4/12/10 DEF_ sENTENcED T0 SERVE 8YRS Lv5, suSPENDED AFTER:

BYRS LV5 FOR 2YRS LV4CREST, SUSPENDED UPON SUCCESSFUL
COMPLET!ON OF LV4 CREST. BALANCE |S SUSPENDED FOR1BMONTHS
LV3 CREST AFTER CARE, L\/4 CREST |S A HOLD @LV5 UNT|L SPACE |S
AVA|L@ SUPERVIS|ONLV4.HAVE NO CONTACT W\TH HENRY XAVlER,
SUB ABUSE EVAL, MENTAL HEALTH EVAL, ANGER |\AANAGEMENT
CLASSES. JLC

1N10041985 5 AUTOT|S T|S Sentence.
n IN10041989 5 CRTCD COU|‘{ COnditiOnS SENTENCED TO LEVEL-5 (EFF. DATE 11/19/2010) FOR 1 YEARS.

SUSPENDED |N|N|ED|ATELY FOR LEVEL 5 FOLLOWED BY 1 YEARS AT
LEVEL-3

|N10041989 5 AUTOL\/LS Level 5 Sentence. AS TO 1004008353 SENTENCED TO SERVE 1 DAY(S) AT LEVEL 5, l
BEG\NN|NG11/19/2010. =

lN‘|UU41989 5 AUTOCONL5 Level 5 SenlenCe. SENTENCED TO SERVE 1 DAY(S) AT LEVEL 5 CONSECUT|VE. l

immunng 5 AuTOTlS Tls Semence. `

VN‘| 004 1935{]'1 5 RE||\/|PO Conditions Imposed on DOC MAY FLOW DOWN FROM L4 TO L3 @ ANYT|ME. DHB

VN10041935{]1 5 CRTCD Court Condilions SENTENCED TO LEVEL-5 (EFF. DATE 02/21/2013) FOR 4 YEARS, 3
MONTHS W|TH 8 DAYS JA|L CRED|TS. SUSPENDED AFTER CO|V|PLET|ON
OF SUBSTANCE ABUSE PROGRA|V| (DOC D|SCRET|ON) FOLLOWED BY
LEVEL-4 DOC D|SCRET|ON HELD AT LEVEL 5 _

VN1004198501 5 AUTOLVL5 Level 5 SenienCe. AS TO1004008353 SENTENCED TO SERVE 4 YEAR(S) AND 3 MONTH(S)
AT LEVEL 5, BEG|NN|NG 02/13/2013.

VN1004198501 5 AUTOCONLS Leve| 5 Senien€e. SENTENCED TO SERVE 4 YEAR(S) AND 3 |\/|ONTH(S) AT LEVEL 5
CONSECUT|VE.

\/N1004198501 5 AUTOT|S T|S Sentence_

 

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Offender Status Sheet

Date: 06/08/2016

 

SB|#: 00470221 Name: DAN|EL B COHEE Sex: M

Location(s): JTVCC Leve|(s): 5 Race: WH|TE DOB; 05/06/1982 Sex Offender: U
AKA:

offender Type; Sentenced Officer(s):

 

start Date: 01/07/2013
`EASY_#,"; _: `FT:W`
|Courtl‘ Type :’Judga

1004008353 1N10041985
`U7 Richard R cooch
special condit'i'bns:

MED:01/06/2015

_ __' Charge D_e;ca' _ '
Sen. Typel‘ Sentenca Date: m c § 1

~$»
5 s

STRD: 10/26/2014

_ cARJAcKlNG 1ST
`STANDARD

 

02/21/2013 101/07/2013

M\

PED: Statutory Days Earned: 72.00

 

 

status: Lengch ' stan br MED' chBoard`l'T:h`! `PRiWI{

EH. mata _y = M 1= big orParole =coun| l
___ _'_» .& 1 _._ ___ ! l .
Comp|ete

0 0 01/07/2013 01/06/2015

5!§5¢5\ .<,zs

 

 

 

 

 

 

 

CRA# _ _Le\¢e| | dee. i , Cch§i't-IJDE$chti-bn v 2 § 3 § » § 3 § § Condit'ié§yco[mj\en't§m _
lN10041985 " 4 ` CRTCD ' ' Court Conditions " ` sENTENcED TO_LEVEL-4 (EFF. DATE 01/07/2013) FOR 2 YEAR`s.
SusPENDED AFTER coMPLETloN 0F cREST PROGRAM FOLLOWED BY
AFTER CARE 18 MONTHS AT LEVEL-3
**LE\/EL 4 STOPPED DUE To NEvv cHARGES As 0F 2/14/13.R\G
|N10041985 4 AUTOLVL4 Level 4 Sentence. As To 1004008353 SENTENCED To SERVE 2 YEAR(S) AT LEVEL 4
lN10041985 4 CRT1 Olher gondniorrsz sENTENcED jew/ns LV»:::REST`, s`uSPENBED uPc)N succEssFuL
coMPLET\0N oF Lv4 cREST. BALANCE ls SuSPENDED FOR 13MONTHS
Lva cREST AFTER cARE, Lv4 cREsT ls A HOLD @Lvs uNTlL sPAcE ls
AvAlL@ suPEvasloNLv4.HAvE N0 CONTACT WlTH HENRY )<AleR,
sua /\BusE E\/AL, MENTAL HEALTH EVAL, ANGER MANAGEMENT
cLASSEs` LMC
|N10041985 4 AUTOT|S T|S Sentence.
VN1004198501 4 CRTCD Coun Conditions SENTENCED TO LEVELA cREST PROGRAM suSPENDED AFTER
COMPLETloN oF cREST PROGRAM FOLLOWED BY AFTER cARE 18
MONTHS AT LEVEL-3
| VN1004198501 4 AUTOLVL4 Level 4 Sentence. AS TO 1004008353 sENTENCED To sERvE AT LE\»'EL 4, BEGcNNlNG
£"'_§';_M;…"_"' " ' _ ' W:;§ il.€sr¢l`;_d ::§§;:‘f§*:::;§:“§ _ __ _ _ “‘ §f§i »» _ |
3 _ ¢;<>$» _ 9&38.0“%& _______;s&‘%_‘&_&#&%§ %%_& __- _ - v&&&&&&
Start Date: MED: STRD: ADJ: PED: Statutory Days Earned:
E`c_;r`o'.s`i`z#rr'"`*»` ¢'Rd`{¢',' __` _' `c"har`i_;`é `t`)és§.";&`§§§§ § :: 's\atusr“ Lengeh _ __ stan or _MEo ' cR,_'_Br-.»srd';_§cw§ p_R' wh
_Courtl Type '_\j_\;ldgo |I S_e'_n. Typa_»' Se°g!\egce date l Eff. Dafe Y j '_M 'I" |3 ,- of Paro!e‘ C”¢'.:Hr}§_ §
1004008353 'rv?~l10`c`)41955`01_ `VOP-CARJACK|NG ` | Ccmseculiva ' ` ` "_ ` ` `
- 0 0
U7 Richard R COOCh lSTANDARD 02/21/2013 \02/21!2013 '
Specia| Condit§ons: _ n
| CR_A# Level Codg_a. l Conr.illion De_s`c_\_'ip_t_lor`l _ M;$::;Cta_:_'ldltlon Com_ments _ _~~7‘;,
lN10041985 ' 4 CRTCD n _"Cdi:rt`Cunditions _"` SENTENCED TO LEVEH {EFF. DATE u'lm?;z:ma) FQR 2 Y`EARS.
SuSPENDED AFTER cOMPLETloN oF cREST PROGRAM FOLLOWED BY
AFTER cARE 18 MONTHS AT LEVEL-3
~~LEvEL 4 STOPPED DUE To NEvv cHARGES As OF 2/14/13.an
lN10041985 AUTOLVL4 Level 4 Sentence_ AS To 1004008353 SENTENCED TO sER\/E 2 YEAR(s) AT LEvEL 4
lN10041985 CRT1 Other Cond`lllrms: SENTENCED 2YRS Lv4cREsT, SUSPENDED uPON SLlccESSFul.
coMPLETlON oF Lv4 cREST. BALANCE ls SUSPENDED FOR 18M0NTHS
Lva cREST AFTER cARE, Lv4 cREsT ls A HOLD @LV5 uNTlL sPAcE ls
AvAlL@ SuPEvaSloNLv4.HAvE No CONTACT vvlTH HENRY ><AleR.
SUB ABuSE EvAL. MENTAL HEALTH Evm., mean M;\NAGEMENT
cLASSES. LMC
lN10041985 AUTOT|S TlS Sentence.
VN1004198501 4 CRTCD Court Conditions SENTENCED To LEVEL-4 cREST mancan S\JSPENL:ED r\FrER
coMPLETloN oF cREST PROGRAM FOLLOWED BY AFTER cARE 18
MONTHS AT LEVEL-3
VN1004198501 4 AUTOLVL4 Level 4 Sentence. AS TO 1004008353 SENTENCED To sERvE AT LEVEL 4. BEG|NN\NG

 

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Offender Status Sheet Date: 06§08/20§6

 

 

 

     

 

 

SB|#: 00470221 Name: DAN|E|__B COHEE Sex: |V|_
Location(s): JTVCC Leve|(s): 5 Race: WH|TE DOB; 05/06/1982 Sex Offender: §_]
AKA:
Offende§- Type; Sentenced Officer(s):
Leval: 3 §§ §
Start Date: MED: STRD: ADJ: PED: Statutory Days Earned:
§CASE#,' " CRA#»" , § § ' ' Cha`rge Désd:; . ; ; ;§‘: 1 Statusi' § Longth 'f Stari Di ' ME_D§_ »§ CR!Board CRJ' 1 PR _k§
§Courv' Type Judge ':_::: ' sen. Typez sentence mate § Eff- Dafe Y- 111 _'n 1 of Pale §`Court§
:' ___.__ *M--° __ . _. __ __ |l
1004008353 |N1004‘|985 CARJACK|NG_ 1ST Consecutive 18 0 09/ /2012 3 18/20 _
`u7 §coneeo Rioham R coooh §STANDARD §02/21/2013 §01/07/2013 ' 19 0 / 14
`1004008353 §1N10041989 PvaBPP _ ` consecutive 0 ` _0 09 §9/ 2 09/18/20§3
U7 §Consec Richard R Cooch STANDARD §02/21/2013 §11/19/2010 / 201
1004008353_ §vN1004198501 'vOP~cARJAcKiNG _ ` consecutive 18 0 _
U7 §Consec Richard R Cooch §STANDARD §02/21/2013 §02/21/2013
Special Condit§ons: _ n
' CRA# § Level § Code;“`? "§__ Cond_ition _D_escrlp_fic:h § _ _ " 'C_onl:|ilipn Co_m`merus§; ;_
lN10041985 3 CRTCD Court C_ondit'ions ` ' sENTENc_ED T_o LEVEL-3 FOR 18 MONTHS AFTER cARE 1
lN10041985 3 AL)TOLVLS Level 3 Sentence. As TO 1004003353 sENTENcED To SERVE 1a MoNTH(s) AT LEVEL 3,
BEGiNNiNG 09/19/2012.
lN10041985 3 CRT1 Other Conditions: sENTENcED 2YRS i_v4cREST. susPENDED uPoN succEssFui_

COMPLET|ON OF LV4 CRESTl BALANCE |S SUSPENDED FOR18IV|ONTHS
LV3 CREST AFTER CARE, LV4 CREST |S A HOLD @LV5 UNT|L SPACE |S
AVA|L@ SUPERV|S|ONLV4.HAVE NO CONTACT WlTH HENRY XAV|ER,
SUB ABUSE EVAL, MENTAL HEALTH EVAL. ANGER MANAGEMENT 1
CLASSES. LMC §
|

 

 

 

` lN10041985 3 AuToTis 113 sentence
§ 1N10041989 3 cRTcD court conditions sENTENcED 10 LEVEL-a FoR 1 YEARS
§ lN‘l 0041989 3 AUTOLVL3 Level 3 Sen!ence. AS TO 1004008353 SENTENCED TO SERVE 1 YEAR(S} AT LEVEL 3,
BEG|NN|NG 09/19/2012.
VN1004198501 3 CRTCD COUI'l COt'ldiliOl'\S SENTENCED TO LEVEL-3 FOR 18 MDNTHS AFTER CARE
VN1004198501 3 AUTOLVL3 Level 3 Senlence. AS TO 1004008353 SENTENCED TO SERVE 18 MONTH(S) AT LEVEL 3,
BEG|NN|NG
§ § `::*` :::§;::: Level= 2 “
‘*° ___ _’_“i __ _ _…$_M»» . _ ____ _ __ __ ____ _:__ ___§
start Date: 01/20/2010 MED:01/19/2012 sTRD: 01/19/2012 ADJ.11/23/2010 PED: statutory Days Earned. 0 00 '
§CASE#,~' CRA`#)‘ §§§§ `Cha`rge De_sc!- “ ‘ ` Statusi' ` Length § Start Dt MED CRi’Bciard§ Cl=lir PR Wki
§Courtil Type Judge_ 1:3011, .Typei' Sentenca Data; § Eff. Date § Y M |'j`§ of Parola |Co\.trt § §
0902012226 `1N09031219vv _ _`_ ` `_`AGGR MENAciNG ` ` " complete _ ` ` _""
2 0 0 01/20/2010 01/19/2012

 

 

U7 Jan R Jurden STANDARD 101/20/2010 § 011201'2010
Specie| Conditions: n _

CRA# " Y'Level_ Cocle § _§§§§ Cond|tion D_esl:rl'pt|on ;'- ' -`1;`§ _' § Cnndit§qp°§gp]ments

lN09031219W 2 AUTOLVLZ Level 2 Senlence_ AS TO (19020'12226 SENTENCED TO SERVE 2 YEAR(S) AT LEVEL 2,
‘§ii imm __ §§ §§ nj i_~_§_§___,nwi BEG|NN|NG 01/20/2010.
1 |N09031219W 2 MENTAL Menta| Hea|th Eva|uation/ Treatment as directed

lN09031219W 2 D|RECT No Contact - Direct(Specify Who): CARLO MANC|N|
§ lN(¢)§®z§§iW 7 7 2 m§€HED Pay $ owed as directed by Coun or PO

|N09031219W 2 SUBATH Substance Abuse - Eva|uation Directions:(Po

|N09031219W 2 AUTOT|S T|S Sentence.

|N09031219W 2 ZERO Zero To|erance for (Specify)' DRUGS AND ALCHOLE

 

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EXHIBIT B

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State of Delaware
DEPARTMENT OF CORRECTION
Bureau of Prisons

INSTITUTION CLASSIFICATION SYSTEM
INSTRUCTIONAL HANDBOOK

3/]9/15

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B. Completion Policy. .................................. _ . ............................ ,,,,,,,, 5

C. Instructions.._ ........ _ .......... '. ................................................................................... . ....... 5
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DELAWARE DEPARTM ENT OF CORRECTION
BUREAU OF PRISONS

INITIAL CLASSIFICATION AND RECLASSIFICATION FORMS
GENERAL INSTRUCTIONS:

ill Examine all available documentation in the offender’s institutional tile and/or information
contained in electronic data sources (i.e. DACS, DELJIS), such as the vital statistics sheet, status
sheet, commitment/sentencing order and/or criminal history, disciplinary record, etc. to assist in
the completion of each form.

NOTE: A criminal history report from DELJIS should be included in the offenders’ institutional
filcs. Each institution will determine staff responsible for printing the repoit.

24 Enter the highest applicable point value in the data field provided to the right of each item. Where
numerical reporting is required and information is missing or is not available, “unk”. Do not enter
a “zero” to indicate missing information Enter a “zero” only when it corresponds to the
appropriate item catcgory. Do not leave blank spaces.

3. Each item provides a secondary data field to record specific information. Enter the requested
information in the space provided. Make further clarifying remarks in the comments section as
needed.

4. Add the scores across the items and enter the total point value for the offender in the designated
box.

PLEASE NOTE: This manual is intended to provide instruction and assistance in the completion of the
objective (point-based) classification assessment tool and related forms. General and specific
classification policies, procedures, criteria, ete. are maintained in the 'Bureau of Prisons Procedure
Manual. Staff should utilize those documents in conjunction with the point-based assessment tool. Some
sections of the Bureau of Prisons Procedure l\/lanual related to classification include:

BOP 2.1 Temporary Release
BOP 2.31 Transfers/Waiting Lists
BOP 3.3 Classi.fication

BOP 3.4 Rangc ofServices
BOP 3.9 Boot Camp Eligibility
BOP 3.13 lnte.rstate Corrections Compact

ha

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INITIAL CLASSIFICATION FORM

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I. INlTlAL CLASSIFICATIO'N FORM (IC`F)

A. PURPOSE
'l`he lnitial Classification Form (ICF) establishes an offender’s recommended classification
rating upon her/his commitment to the custody of the Delaware Department of Correction.
This rating is based on seven items that are scored on a numerical scale. These items have
been found to be associated with future institutional conduct and, thus, help to identify the type
and level of risk likely to be presented by the offender. "l`he security level recommendation
derived from these items, together with the assessment of the of`f`ender’s needs is used to make
decisions relating to the offender’s housing assignme.nt, program needs, and supervision
requirements The security level recommendation may be overridden upon consideration of
specific aggravating or mitigating factors that warrant special attention or intervention by staff.

'l`he ICF is gender specific, with a different form for female and male offenders
(Copies of forms are included with this manual)

B. COMPLETION POLICY
The ICF should be completed on newly sentenced offenders Within 5 to 15 days of sentence
calculation lt is understood that various factors could necessitate a delay in completion during
this time frame. Ideally, the initial classification process should be completed before an
offender is moved from the institution’s admission/orientation/pretrial area.
C. INSTRUCTIONS
IDENT]FICATION

OFFENDER NAME: Enter the offendcr’s full legal name, i.e., last name followed by
first name and middle initial.

DOB: Enter the offender Date of Birth by month, day, and year.
DATE: Enter the date that the classification document was completed
AKA: Enter any nicknames or aliases used by the offender,

SBI#: Enter the offender’s State Bureau of`ldentification number. This number must be
used on all subsequent classification forms.

SS#: Hnter the offender’s 9-digit Social Security Numbcr.

CURRENT/LEAD OFFENSE: Enter the most serious Delaware offense for which the
offender is sentenced and admitted to the DOC. Ifthe sentence is for parole/ probation

violation, enter the underlying original offense for which the offender was adjudicated
The entry should rcad: "Robbery lSl (VOPA)” or “Theft (VOPB).”

 

TOTAL # CHARGES: lfthe offender is incarcerated for more than the one current
offense, note the total number in the line provided lfthe offender is a parole or probation
violator_, enter the total number of underlying offenses on which the offender was
Sentenced.

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SENTENCE LENGTH: Enter the current total sentence in the space provided This is
the sum of all current, consecutive, and overlapping sentences

EFF DATE: Enter the month, day and year the offender’s sentence began.

ADJD (Adjustcd Rclease Date): Enter the most recent month, day and year the
offender’s sentence will end.

PED (Parole Eligibility Date) Hnter the month, day, and year of the offender’s earliest or
next parole eligibility, if applicable If the date has passed and no Parole hearing has been
conducted, enter “past” rather than a date. lf the Parole Board has indicated that the
offender will not be given further consideration, enter “no rehearing,” in lieu ofa date.

TIS ('I`ruth in Sentencing)/ Non-TIS: Check as applicable.

RISK ASSESSMENT
lntcnded to identify the offender who presents a serious risk to the safety, security and
orderly operation of the institution

a. SEVERITY OF CURRENT OFFENSE: (see Appendl`x A) Considering all current and
consecutive Level 5 Delaware sentences, determine the most serious conviction for which
the offender is currently incarcerated lf` the offender is incarcerated for attempt to commit
an offensc; conspiracy and/or violation of probation/parole, the severity of the current
offense is based on the companion or underlying offense. In the case of offenders serving
only an out-of-state sentence in Delaware prison under the Interstate Corrections Compact,
rate the severity of the current offense to the best equivalent Delaware charge(s).

Notc: List in the secondary data field Level 5 companion convictions (these are eurrent,
but less severe convictions for which the offender has been incarcerated). Also list in the
secondary data field out-of-state convictions for which an offender is currently serving a
sentence (excluding Interstate Compact offenders as referenced above). l)O N()T
SCORE, this section is for information purposes only.

Examples:
(l) lfthe offender is serving sentences for Assault 2"d and Burglary 2"d, score the Assault
Z“d and list the Burglary 2“d in the secondary Companion Convictions field

(2) If the offender is serving time for Attempt Rape 4th, the severity rating would be the
same as that for Rape 4th

(3) lfthe offender is serving a sentence for Conspiracy 2"d related to his/her role in a drug
Trafficking crime, the severity is rated based on the Trafficking charge. The entry should
read: Conspiracy 2“‘] (Trafficking). Plcase note that the most serious underlying conviction
that accompanies the Conspiracy 2“d. lfConspiracy 2“d is the only conviction then usc the
most serious offense that accompanied the Conspiracy 2"‘].

(4) lfthe offender is serving sentences for Robbery lst (VOPB) and a new charge of
PWITD, the VOPB is scored based on the severity ofthe underlying offense List the
PWITD in the secondary companion convictions field

(5) An offender is serving a Delaware sentence for Theft and a concurrent out-of-state
sentence for Aggravated /\ssault; score the Theft and list the out-of-state offense in the
secondary companion convictions field

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Pliitei‘ the number of points associated with the offense:
l~lntcr l ifthe Cui‘rent/Lead Offense is rated Low severity
Enter 3 if the Current/liead Offense is rated Modcrate severity
Enter 5 ifthe Current/Lead ()ffense is rated High severity
ljntcr 7 ifthe Cui'rcnt/Lead Of`fense is rated Highcst severity

.I`E SCAI’E HISTORY: Conside1 the offenders documented and verifiable walk- offs,
escapes and attempted escapes, including current conviction where applicable Entei the type
of escape and date ofoccurrence in the secondary data field NOTE: Date is defined as date of
occurrence, not the date ;of. any arrest or conviction if applicable
Enter 0 if the offender has no history ofwalk-of"f, escape or attempted escape

Enter 2 if the offender hashadvellfied Walk-off(s) from work release, furlough, DPC,
community and/or outside job assignment, courtroom, police authority (city, state, military,
etc.), during the three (3) calendar years prior to the date of the initial c]gs_§i'fi_gatjgir

 

Enter 3 if the offender has haL'I..` verified attempted escape(s) from a secure correctional
institution (oi' secured DOC transport) during the five (5) calendar years prior to the date of the
initial classification or attempted escape(s) from a secure correctional institution rwnmoi_'e than ten
years prior to the date of the initial classification

 

Enter 7 if the offender has harv z led escapc(s) fiom a secure coriectional institution (o r
secured DOC tiansport) within ten years piioi to the date of the initial classification

 

c. CURREN'I` AGE: Calculate the current age (in ycars) of the offender on the date of the
initial classification assessment Do not round up or down. Enter the offender’s current
age in the secondary data field provided

Enter 0 ifthe offender is 46 years or older.
Enter 1 ifthe offender is between 31 and 45.99 years of age.
Enter 2 ifthe offender is between 25 and 30.99 years of age

Entei' 3 if the offender is less than 25 years of age

d. PRI()R CRIl\/IINAL HISTORY IN TIIE LAS'I` 'l`EN YEARS:(.s‘ee A/)})em{z'x A,)
Count the number of felony convictions against the offender during the ten (lO) calendar
years prior to the current admission date to the DOC. Assess date based on the date the
crime occurred, not the date of the conviction Exclude the current convictions and
convictions as ajuvenile unless the offender was tried and convicted as an adult.
Notc: Out-of-state charges are not counted or scored, as we usually do not have sufficient
information to determine the equivalent crime/behavior described in l)c|awarc Code.
liowcven the significance ofout-of`-state criminal history should be appropriately noted in
the comments and factored into the final recommendation

 

l:nter 0 ifthe offender has no prior felony conviction in the last ten years
Enter l ifthe offender has only one felony conviction
Enter 2 if the offendei has 2 oi f§felony convictions

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Enter 3 if the offender has 4 or more prior felony convictions.

e. SEVERITY OF CRIIVHNAL HISTORY lN THE LAST 10 YEARS: (see Appendix
A) Consider all Delaware felony convictions against the offender during the ten 1 101
calendar years prior to the current admission da_t_e to DOC. Assess date based 011 the date
the crime occurrcd, not the date of the conviction. Exclude current convictions and
convictions as ajuvenile unless the offender was tried and convicted as an adult.

Notc: Out-of-state charges are not scored, as we usually do not have sufficient information
to determine the equivalent cri inc/behavior described in Delaware Code. However, the
significance of`out-of-state criminal history should be appropriately noted in the comments
and factored into the final recommendation

 

Enter 0 if the offender has no prior felony conviction
Enter ] if the prior conviction is rated Low severity
Enter 2 if the prior conviction is rated Moderate severity
Enter 4 if the prior conviction is rated I'Iigh severity

Enter 5 if the prior conviction is rated Highcst severity

f. INSTITUTIONAL MISCONDUCT HISTORY: (see Appendix B) A history of
institutional misconduct is an important consideration in assessing the degree of
supervision required to manage an offender. .It should be noted that the violation for which
the offender is sanctioned does not always reflect what took place. Therefore, available
reports should be reviewed and the underlying behavior considered when determining
whether to score as predatory or non-predatory in any instance where it is optional.

Consider all Major/Class linstitutional misconduct convictions duringt_he five (5) calendar
years prior to the date of the initial classification Assess date based on the date the
behavior occurred, not the date of the hearing or guilty finding. Known and verified
disciplinary convictions received by offenders while housed out of State should be rated to
the extent possible when clearly equivalent to Delaware Penal Code violations Otherwise,
they should be noted in the comments and considered in the final recommendation so as
not to disregard the behavior Do n_ot include pending disciplinary actions, Minor/Class 2
write-ups (even if the sanction was upgraded equivalent to a Major/Class 1), reports on
which the offender was found not guilty or guilty findings that were subsequently
overturned through appeal.

 

Enter the name of the most serious institutional Major/Class l, and the actual number of
Class 1 convictions during the past 5 years, and during the first 6 months of the current
incarceration in the secondary data fields. Enter the points associated with the most severe
l\/lajor/Class l disciplinary guilty finding:

Enter 0 ifthe offender has 110 l\/lajor/Cfass l disciplinary guilty findings
Enter 5 if the offender has a l\/lajor/Class l Non-Predatoi'y guilty finding
Enter 7 if the offender has a l\/fajor/Classl l’redatory/Assaultive guilty finding

g. TIME REMAlNING ON SENTENCE: Consider the actual amount oftiinc remaining
to release date for all combined sentences Do not use l’arole Eligibility dates.

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Special Notc: For indefinite sentences or those suspended upon completion ofa specified
program, use program time parameters listed here.

Transitions 24 months

KEY l8 months
Greentrcc 6 to 18 months
rl`El\/IPO less than 12 months
Reflections Less than 6 months

Enter the points associated with the appropriate time frame:

Enter 0 if the offender has less than 12 months remaining

Enter 1 if the offender has 12 to less than 24 months remaining to serve
Enter 2 if the offender has 24 to less than 60 months remaining to serve
Enter 3 if the offender has 60 to less than 120 months remaining to serve
Enter 4 if the offender has 120 or more months remaining to serve.
Enter 6 if the offender received a life sentence or is sentenced to death.
RISK ASSESSMENT SCORE

Add the points for Items a. through g., and enter the total in the box designated “Risk
Assessment Score.”

Preliminary Security chcl. Check the security level designated by the Risk Assessment
Score (i.e., Minimum, Medium or Maximum), utilizing the Risk Assessment Scale below:

Risk Assessment Scale: (males) (f`emalcs)
l\/finimum 8 points or less 10 or less
Medium 9 to 16 points 11 to 18
l\/faximum 17 or more points 19 or more points

OVERRIDE FACTORS

 

Overrides identify issues or factors that support an increase or decrease in the security level
assignment indicated by the risk score. Mandatory overrides must be applied in all cases
that meet the stated override criteria Discretionary overrides may be used when, in the
professional judgment of staff, the factors cited indicate that the assigned Risk Assessment
Score and resulting security level does not adequately assess the offender.

Once the preliminary security score has been computed, a mandatory policy or
discretionary override shall be initiated, if warranted All overrides require specific, written
justification for their use and justification is to be documented in the space provided

“Dou ble overrides” (increase or decrease by more than one level) are not permitted

Manilatorv Policv 0verrides (MPO):

' Prior escapc(s): Docuinented information reveals serious escapes and/or attempted
escapes from within the secured confines of`a correctional institution or from DOC staff
and/or vehicle while in secured transit, within afive (5) year period preceding the current
classification Criininal charges would likely be associated with these escapcs, but criminal
charges and/or conviction are not required to verify the escape activity and apply this
overridc, Escape behaviors addressed through the disciplinary process do not normally fall

into this category, unless repoits clearly indicate some degree of freedom did occur, or
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serious and significant planning and activity had taken place to gain freedom 'l`his override
also does not apply to walk offs from community placements or outsidejob assignments
Note: Use of this override mandates o .Maximum security placement

' Prior staff assault(s): Documented information reveals offender has previously
assaulted institutional staff through intentional, serious physical contact within a two (2)
year period preceding the current classification Assault may include use of a weapon,
intentional use of body parts or bodily fluids Injury need not have occurred but intent to
infiict bodily harm must be evident.

Notc: Use of this override mandates a Maximum security placement

' 240 or more months remaining to serve: Offender has served less that ten (10) years
and offender release date is equal to or greater than 240 months This includes Life and
Death sentences

Note: Use of this override mandates a placement no lower than Medium

' Offense is rated Highest Severity: Offender has served less than ten (10) years and
offender is incarcerated for an offense identified as Highest Severity in the Of`f`ense
Severity Index (appendix A)

Note: Use of this override mandates a placement no lower than Medium

' Bail of $50,000 or more: Offender has additional pending criminal eharge(s) and is
held in default of $50,000 or more, This includes offenders held without bail for non-
bailable offenses (e.g. Murder 15‘) and offenders held without bail after conviction, while
pending sentencing Do not include offenders held without bail for VOParole and/or
VOProbation.

Note: Use of this override mandates a placement no lower than Medium

Discretionary 0verrides (increasc levcl)

' Pattern of assaultive/predatory behavior in institutions and/or the community.
Evidence in criminal and/or institutional record reveals consistent and repetitive
violent/aggressive/assaultive behavior carried out over an extended period of time. This
override should be considered when the identified pattern is not adequately captured in the
scored categories of the objective tool.

' Documcnted membership in Security Threat Group. Offender is identified as an
active member of a gang, political, or religious group that poses a security threat to the
institution

' Protective custody/Need for separation Offender requires protective custody or
separation to ensure her or his safety and well being 'f he offender may, for example, be a
current or former witness against another offender, homosexual, known inforinant, high
profile or notorious offender, have known enemies in the facility, have a thin/frail
appearance, or an unresolved language barrier.

' Pcnding disciplinary action Offender is under investigation for one or more
l\/lajor/Class 1 institutional disciplinary violations that could result in placement into a
higher security level.

' Mental/Medical issues: Offender has been examined by mental health and/or medical
staff who have advised that offender constitutes a danger to self and/or others or may be at
risk and therefore requires increased security level and supervision

' Detaincrs; ()pcn Charges: Consider the nature and number of pending
charges/Detaincrs and/or the realistic potential for additional time

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' Other: Utilize for extraordinary issues/concerns not adequately Covered in other
override areas or scored factors

Discretionary Overrides (decrease level)

' Time remaining to serve: Offender has a brieftime remaining to serve (i.e. 6 months
or less) and a reduced security level is adequate to maintain offender for the limited time.
A review of offender disciplinary history should support this override

 

' Need for transition: Offender is nearing the end of sentence and could benefit from
programming and phasing that a reduced security level may offer

" Active in multiple programs: Utilize this override to recognize exemplary
involvement in multiple programs and reduced risk associated with program activity

' Other: Utilize for extraordinary issues/concerns not adequately covered in other
override areas or scored factors.

NOTE: A Discretionary Override can never be used to reduce security level
placement required by a Mandatory Policy Override.

REC.OMMENDED»:S.ECUR"['I"Y LEVEL

After reviewing the scale total score and information that may justify an override, mark the
recommended security level. If no override is recommended, the security level will be the
same as indicated by the scale. This section must be signed and dated by the correctional
worker that completed the form. Comments, impressions, summaries, etc. should be
included in the space provided.

SUPERVISOR SIGNATURE AND COMMEN'I`S
This section should be signed and dated by the classification officer or unit supervisor, and
additional comments may be added.

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EXHIBIT C

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Classification Summary

Cohee, Daniel 470221

3/06/13 Initial Classification JTVCC Max JTVCC 20 pts
4[9/ 14 Reclassification App’d Med Hc,

Key Pro gram 15 pts
11/14/14 Incident Driven Classification App’d Max 22 pts

**returned from HRYCI Key/disciplinary assault

l 1/16/15 Reclassification Max JTVCC 19 pts

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EXHIBIT D

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a 3\_¢1'-_4)‘ 4_\`§¢‘§ ___ (’§ '_'_J_'__\_`:"_'_-'\,J _l_¢.!\`\'_#g¢' (_ __‘,) _k_~_-' $l'__ ".l'r \\_v-l _l;»' __ ___i __t§¢-_" 41.45._._ j_-__l\__
_ __l"'\ 3~`\'4- .-`_v/i. _l)¢»_'l_le:_.} 444}4 v_\_m¢-e*¢‘ ,_4:)__:’\_1:1_-4\:\?51-‘.‘5_¢ .l .1'1`--1¢\"€-1’--'_\ 14._‘___*"'_-

__'_lrv\[__\_\l__l _J,¢l__\qr\_¢~¢_ ___1_£¢{:'(.\¢_’}__\'_-`_:__->'_.\ .4_ _}~ !J`d_ f ){'%,n__lcrg ,__¢4_,-,4__`_`___;1\,,¢:
41_\144444_4. w 1 `

_'-4:-¢,.»4 lr4"\‘44'

_-_:_'\3\¢____3'§\1'{4_.\ lhf_`lg__
__A-.}\;!_._ ____?__ _ r_' ;'4_ "

i-"l-">"“-Y"j l w_-`_'F§\___?51€-"-‘\»¢"¢_.;.1'4~', [}'_¢e._ r

 

 
 

.-A--‘l'Q`* "'i"~\_:.v-_' 'L_ /l.') 4.}.1_¢1\,4_';'_- __'¢_’._¢._: \1"¢‘__'&¢.'41\¢'_;
_ 1+'~_'.~\3 4_-.4.4:_\- “ l'.f'\> I'__..g,\ ,144‘ __ (_-,4(_______)_ "r_,_
----- ¢:"|:`L`l"":'l' £‘-,'\‘,-l' _l_'_lA"_‘_\\ '.."H}R _""S '~"H\:\ f '-
_ _lf._( »-rlc’ -4|_£-_.¢;-_£__¢1-__-, ,_l“_i_‘,c,`__c_ “L\ '-____\- ____K `:___-_M
l§'___`=; _'4" __F_,¢" _'1~ 441 __.4}4_ 4:414___-'4' 4"_____ .-
'1="-1 '4’_»'3` 4"!1 /'~‘1 1'_"-~_4_-~-' ma *`!._4'9'.,_ _;-_4__.4 444 4'4'41.
_\` F¢=l‘ ___1~3_1$"` 141-_'\__-_-_4 -=)'4'4` .'c:c. 1‘r ‘4-'._ =4.;-: a-_"_.»'_.'J_ ':)
`:"`_'-\.___.:? f {“4\\'\ il\1\».»'.\ ‘\"' Y~'(_". l'D F\"\,"Jl,ik --'___'.\'|4_ "- "_--G

"..J _`l l _ l.r : -.-.-4*- n

 

 

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Case 1:13-cV-01243-RGA Document 101-1 Filed 06/09/16 Page 23 of 47 Page|D #: 881

EXHIBIT E

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epartmen

§H§%Qt§{f§%§m§’t§%e. Wd%‘°/ 3611.’ §QSLQY%: §13£

Delaware Depal“cment ofCorrection - [Offender Housing Details and Histoly - MOV_OHDH ] -
Offender Housing Details and History Repol“c Created 0n Tuesday October 28, 2014 14:43

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Select Offender SBI Numbcr N~.m\c R/S SENTAC i Sec/Cust l
[’() `l.-ocati{)n `:\'_llllti Status l.¢)cafi<)n
`.l`.’(.')
00470221 COHEE DANIEL W V
HRYCI - 10 W\ N

 

 

 

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`Bed l`€"acility "I`ier / `P()d Buiiding
v vI)atc
z ` / ' 4 ,~
ll C\,ll \Vlng, Lmt rloor B€d T)pe .Enwred
f "l`ime Time
hitcred Datc _l)eparted -Départcd Comments
Bed B HRYCI.HOWa"d .R'Y°““g Pod 21\/1 Building 1
Correctlonal ]nstxtutlon
Cell 17 West Floor 2 10/]4/2014
]4:34
Bed A HRYCI.HOWard .R'Y°““g P<>d 2M Building 1
Correctlonal Instltutlon
|cell 8 West Floor 2 10/04/2014
|11:13 10/14/2014 14;34
Bed A HRYCI.HOWard .R'Y°u“g Dorm 11 Building 1
Correctlonal Instltutlon
FBunk 7 East Floor 1 07/25/2014
|10;48 ||10/04/2014 11;13
Bottom JTVCC.JameS T' V_aughn Tier B Building B
Correctlona| Centel
|Cen 16 06/27/2014
|12;25 07/25/2014 05;45
JTVCC James T. Vaughn .
‘ 7
Top Correctional Center T‘el B Bldg “l
|Cell 3 |[ ][Lower || 06/18/2014
14:05 06/27/2014 12:25
JTVCC James T. Vaughn .
Top Correctional Center Tler B Bldg 21
| 1 l 11 ll 1
https://dacs.State.de.uS/docf`lles/0utput_2332336l .htm l 0/28/2014

Case 1:13-
Delaware D

CV-OJ_243-R A D 101-
epaltment Of orrectig))gL-1 Oef[\:|etnder I~il'ou

F.i|e 061 9/1
smg eta\san

Hi§’t§. e_?\??oo\‘°/FSY?QSL§Y§ §13$

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

|Cen 12 Lower |06/18/2014
[13;46 06/18/2014 14;05 H
JTVCC James T. Vaughn . _ . .
Top Correctional Center T]el A Bulldmg B
Cell 12 ALL 05/19/2()14
09;02 [06/18/2014 13;46
JTVCC James T. Vaughn . _
Top Correctional Center Tlel C Bldg C
\Ce11L3 ||05/19/2014
|09:()2 05/] 9/20]4 09:02
JTVCC James T. Vaughn . . .
Top Correctional Center Tler A Bulldmg B
|Cen 12 ALL 05/19/2014
\09;00 05/19/2014 09;02
Bottom JTVCC_JameS T. Vaughn Tier B Bldg C
Correctlonal Center
|Ce11L10 04/28/2014
|12;10 05/19/2014 09:00
JTVCC James T. Vaughn .
Bottom Correctional Center Tler C Bldg 21
|Ceu 8 Lower 02/03/2014
|10;55 04/28/2014 12;09
. JTVCC James T. Vaughn .
Smgle Correctional Center Tler D Bldg 18
Cell 3 Lower 09/06/2013
19;34 \| 02/03/2014 10;55 |[
JTVCC James T. Vaughn .
Top Correctional Centel' Tler B Bldg 21
Cell 6 Lower ]| |[06/05/2013
12:43 09/06/2013 19:34
JTVCC James T. Vaughn . _
Bottom Correctiona| Center Tlel B Bldg 21
Cell 6 ]\Lower |\04/25/2013
14:28 06/05/2013 12:43
Top JTVCC James T. Vaughn Tier B B'dg 21
https://dacs.state.de.us/docf`lles/0utput*2332336l .htm 10/28/2014

 

 

 

 

 

 

 

 

 

 

 

%%Pa%vg\'r:g' :lgj_ecdla_r?n]i§r?tgde (§)€1€¢|11)1§)110 EJfg)(?`petn:cli(e)r:l'[;l']€)uS|i:d|ge

06/09/1

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614

 

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Correctional Center
Cell 10 |[Lower 03/16/2013
21:32 04/25/2013 14:28
JTVCC James T. Vaughn . .
Bottom Correctional Center Tlel B Bldg 21
|Cell 1 |LLOWer 03/13/2013
|14;44 03/16/2013 21 ;32
JTVCC James T. Vaughn .
Bottom Correctional Center T]er C Bldg 21
|Cell 4 Lower 02/26/2013
17:48 03/13/2013 14:44
JTVCC James T. Vaughn .
Top Correctional Center Tler A Bldg 22
Cell 10 Lower 02/21/2013
|17;31 02/26/2013 17;48
JTVCC James T. Vaughn .
1;100r] Correctional Center Tler B Bldg 22
|Cell 3 Lower 02/13/2013
|19;16 02/21/2013 |\17;31 \L
CVOP Central Violation of Probation CVOP
Bed 627 Cemer Pod 6 BUILDING
1€@116 02/11/2013
[08;09 |02/13/2013 |15;25
CVOP Central Violation OfPrObatiOn CVOP
Bed 715 Cemer Pod 7 BUILDING
Fce117 1 1 01/25/2013
19:17 02/11/2013 08:09
CVOP Central Violation ofProbation CVOP
Bed 601 Cemer Pod 6 BUILDING
|CellG 01/17/2013
|08:26 01/25/2013 19:17
JTVCC James T. Vaughn .
1B0n0m Correctional Center Tler B Bldg 21
|Cell 11 LOWel‘ 05/11/2012
|11:11 01/17/2013 06:00
1 ll |

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10/28/2014

 

 

 

 

 

 

 

 

 

CD§\SE£szl-r:g']§-ecp\a-r?n]i§r£\ltgd C(§)§ec€<?ncy%?§:%dgr _ ous|i:ni|ge §§1/12?11/1]661-1153 e- HOQ;_Hl-F§Ql§d§§)e :0§§5

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

JTVCC James T. Vaughn .
Top Correctional Center Tler B Bldg 23
lCell 6 Upper 05/08/2012
119100 05/11/2012 11211
. JTVCC James T. Vaughn . _
|Smgle Con‘ectional Center Tlel C B]dg 18
1€611 4 Lower 05/07/2012
|09;19 05/08/2012 19;00
JTVCC James T. Vaughn .
Top Correctional Center Tler B Bldg 23
|Cen 6 Upper 02/27/2012
112;44 1|05/07/2012 09;19
. JTVCC James T. Vaughn v . Bldg
Smgle Correctional Center Tler D D/lnflrmary
|Cen 233 02/23/2012
|19:59 ||02/27/2012 ]|12:44
JTVCC James T. Vaughn .
Top Correctional Center T]er B Bldg 23
c6116 | |Upper |[12/27/2011
17:01 02/23/2012 19:59

 

 

 

 

 

 

 

 

 

 

 

 

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EXHIBIT F

1095532 Case 1:13-cv-Ol243-RGA Docunmm@l@di§`@@d/OQ/l€ Page 29 of 47 Page|D #: 887
slleRNA DE 19977

Phone#: 302-653-9261
|NC|DENT REPORT

 

 

 

lncident# 1095592 Type: |nmate |nvo|ved |ncident DateZO2/23/2012 Time: 12:31 COnfidenfia|: No

Sroup#: 31125

Short Description: Supp|ement To: PREA: No
Faci|ity: JTVCC James T. Vauqhn Correctional Center FO||OWup Required 2 Ye_s
Warrant Type: Warrant #: Offender States Rape: _N_o

|ncident Location: B|dQ-23 B Ti€l”
Location Description:B|dg 23 BU6
Sexual A||egation:

Location Category:

Vio|ated Conditions: 1_02/200_201 Assau|t

1.13 Fighting
2._03/20_0.106 Creating a Health, Safety or Fire Hazard

2.06/200.108 Failing to Obey an Orde_r

Description of |ncident:
On Thursday February 23, 2012 at 1230hrs, l Officer Janusiewicz, James Was on C- tier With Sgt. Kemp, Ernest and Officer

Russell, Jason letting the inmates out for choW. When We exited the tier, l heard a loud, continuous hanging on B- tier. Once

We entered Bravo tier the hanging stopped VVe Were signaled by several inmates that it Was corning from the upper tier. When
We got to Cell Upper 6, l observed blood splatter on the cell door Window With inmate Cohee, Danie| #00470221 standing at the
sink with several small cuts to his face and a deep laceration to his right hand With blood covering his clothes and inmate
Struman, Perne|| crouched down in the corner of the cell by the WindoW With blood on his shirt and pants. The wa||s,
floor, desk, and sink/toilet Were covered With blood. Officer Russe|| raidoed the control pod to call a Code 8. Officer Russel
ordered inmate Cohee to back up to the door to be cuffed and removed him from the ce|l. |nmate Cohee Was secured in the
Upper shower 1. |nmate Struman Was then instructed to back up to the door to be cuffed and Was escorted to the B-tier

lnterview room. BU6 cell Was secured At this time, |nmate Struman Was searched and did not find a Weapon but noticed
blood on his hands and cuts on his right hand. |nmate Was then shackled to the tab|e. l then exited the tier and began my report
While responders stood by. --EOR--

 

 

1'_ln'j'ured Persons _ Nature of |njl.lryr 11 Location
N/A Knife or stab Wounds. hand neck face
Hospita|ized : [] Med. Treatment Provided : []
lomments : N/A

_ _ _ _ Eviden_ce lnformation
Evidence Type 1 Coliec'ted By Date Collected Secured By

fA N:'f-\ N/A N/A

lomments: N/A

CONF|DE$I§'_IAU_DOCOOOMB

1095582 CaSe lilS-CV-OJ_243-RGA DOCU rh@]..-finle 6/09/16 Page 30 0147 Page|D #Z 888

SMYRNA DE 19977

 

Phone#: 302-653-9261

|NC|DENT REPORT

Incident# 1095592 Type: |nmate involved

Eroup#:

31125

Shorf Descriptiorl:

;taff/
l/A

tmate/
l/A

tmate/
|/A

leporting Officer:Janusiewicz, James J (Correctiona| Officer)

Namel`Details

Janusiewicz, James J
Age: Sex:

Race:

Russe|l, Jason J
Age: Sex:

Race:

Kemp, Ernest A Jr
Age: Sex:

Race:

Cohee, Daniel B
Age: 29 Sex: M
Race: WH|TE

Struman, Pernell
Age: 26 Sex: M
Race: BLACK

lcident Outcome:

iomments:

sel#

 

N/A

N/A

N/A

100470221

CONF|DES|§]AU_DOCOOOMQ

 

|ncident Date: 021123!2012 Time: 12:31 Confidential: No 1
Supp|ernent To: PREA: No
lndividua|s involved _ _
Type of Type of Action Title
Force Restraint Taken
1 1 11 Correctional Officer
1Handcuffs, Leg |nmate Correctiona| Officer
Shack|es Segregated
Correctiona| Officer
1Handcuffs 1Given a medical 1N/A
examination,
|nmate
iSegregated 5
Handcul"fs, Leg ,Given a medical N/A
Shackles jexarnination,
inmate
Segl_'egated

Fo|low-Up Information

Entered By;JanusieWicz, James J (Correctiona| Officer)

:1095582 Case 1:13-cv-Ol243-RGA Docu rh@]_-andl¥l` 6/09/16 Page 31 of 47 Page|D #: 889
' SMYRNA DE 19977

Phone#: 302-653-9261

 

 

 

|NC|DENT REPORT
lncident# 1095592 Type: |nmate involved |ncident Date:02!23!2012 Time: 112:31 Confidential: No
3roup#: 31125
Short Description: Supplement To: PREA: No
Standa_rd Check List
Description Completed Date 1 Compieted By
Wiéé ? 11 _ _'_ `W __ 1 _ __ _
Comments:
tate Police Notified ? [No]
Comments:
mate Segregated ? [No]
Comments:
mate Sent to Hospita| ? _ [No]1 _ _ _ _
Comments:
mate Sent to Onsite Medica| Unit ? [No] 1
Comments:
ART Notmed ? [No} 1
Comments:
'arden Notified ? [No]
Comments:

Approval lnform1a1ti'on
§ Approved :1 Disapproved Date:Q/2_3/201_2 Approved by: G|ick, LiSa L gStaf'f Lt./Lt)

lomments: N/A
Lead investigator information

Date: Time: |nvestigator Name:

Comments:

CONF|DM§]AU_DOCOOOOZO

1095532 CaS€ 1213-CV-01243-RGA DOCUFTBJnYrCl:@l.-dndl§MO@€/OQ/J_G Page 32 0147 Pag€lD #Z 890
SMYRNA DE 19977

Phone#: 302-653-9261
|NC|DENT REPORT

 

 

 

lncident# 1095586 Type: |nmate involved |ncident Date:02/23/2012 Time: 12:30 Confidentia|: No

3roup#: 31125

Short Description: |nmate Assau|t / Fight Supp|ement To: PREA: No
Faci|ity: JTvcc James T. veuqhn correctional center FOllOwup Required 1 §
Warrant Type: Warrant #: Offender States Rape: I\Q

|ncident Location: B|d9-23 13 Ti@_r
Location Description:B tier Cell C upper 6

Sexual Al|egation:
Location Category:

Vio|ated Conditions: 1_02/200,201 Assaglt

1.13 lighting
2.03/200.106 Creating a Health, Safety or Fire Hazard

Description of |ncident:

On Thursday February 23, 2012 at 1230hrs, l Sgt. Ernest Kemp with Officer Jason Russell and Officer James Janusiewicz
were letting inmates out to go to chowfrom C- Tier. When we exited the tier, We heard a loud, continuous banging Coming

from B tier. As we entered B tier the banging stopped We were signaled by multiple inmates that it was coming from the upper
cells. As l came to Cell Upper 6, l observed blood splatter on the cell door window with |nmate Cohee, Daniel #00470221

standing at the sink with multiple small lacerations to his face and a deep laceration to his right hand with blood covering his
clothes and inmate Struman, Pernell crouched down beside the lockers with blood on his shirt and pants. The walls,
floor,door, cell table, and sink/toilet were covered with bloodOfficer Russell radioed to the control pod to call a Code 8. To
preserve the crime scene We instructed |nmate Cohee t0 back up to the door to be cuffed and removed from the cell. |nmate
Cohee was secured in the Upper shower 1 and was instructed to not remove his clothing or wash his wounds in the shower.
|nmate Struman was then instructed to back up to the door to be cuffed and was escorted to the B-tier lnterview room. BU6

cell was secured At this time, Officer Russell stripped |nmate Struman and did not find a weapon but noticed blood on his
hands and cuts on his right hand |nmate was then shackled to the table. Officer Russe|| then asked |nmate Struman where the
weapon was and he stated "l don't know what your talking about". l then exited the tier and began my report while responders
stood by. --EOR--

 

 

 

_|njured Persons Nature cmh}ury Location
Ernest, Kemp A Jr Knife or stab wounds. 1 Hands Face and neck
Hospitalized : [] Med. Treatment Provided : []
lomments : N/A

Evidence |nformation
Evidence Type Col|ected By Date Col|ected Secured By

/A N/A N/A N/A

Iomments: N/A

CONF|DEN§'_£AU_DOCOOOOM

__11095582 Case 1:13-cv-01243-RGA Docurrsm itall=andl?i Hda6/09/16 Page 33 of 47 PagelD #: 891

SMYRNA DE 19977

 

Phone#: 302-653-9261

|NC|DENT REPORT

|ncident# 110195586 Type: inmate involved

Broup#:

31125

ihort Description: inmate Assault! Fight

Type!
Category

itaff/
teported
"Y

;taff/
Vitness

;taff/
Vitness

tmate/

'erpetrator

imate/
'erpetrator

individuals involved

|ncident Date: 021231‘2012

Time: 12:30

Supp|ement To:

 

Action
Taken

 

 

Name!Deta11|1s SBI# Type of Type of
Force Restraint
Kemp, Ernes?A-Jr N/A 1
Age: Sex:
:Race:
Russell, Jason J N/A Handcuffs, Leg
Age: Sex: Shackles
Race:
Janusiewicz, James J N/A
Age: Sex:
Race: 1 _
Cohee, Daniel B 00470221 Handcuffs
Age: 29 Sex: M
Race: WH|TE |
l
Struman, Pernell 1 Handcuffs, Leg
=Age: 26 Sex: M l Shack|es
lRece; BLACK l
leporting Officer:Kemp, Ernest A Jr(Co Corpora|/Sgt. - Large
|nst.) |nst.)
Foliow-Up information
tc_oEe-: _

\cident Ou

.`omments:

CONF|DE$|§IAU_DOCOOOOZZ

Given a medical

|nmate
Segregated

1C0rrectional Officer

N/A
examination,
inmate
Segregated
|nmate
Segregated

N/A

Confidentia|: NQ

PREA:No

Tile

11Correctional Officer

Correctional Officer

Entered By:Kemp, Ernest A Jr(Co Corpora|/Sgt. - Large

1095582 1 CaS€ 1213-CV-01243-RGA DOCUrTEinfr]aGl-éndEMG/OQ/J_G Page 34 0147 PagelD #Z 892
SMYRNA DE 19977
Phone#: 302-653-9261

|NC|DENT REPORT

 

 

 

incident# 1095586 Type: inmate involved incident Date: 0212312012 Time: 12:30 Confidentia|: No

3roup#: 31125

Short Description: inmate ilissaultr1 Fight Supp|ement To: PREA: No
Standard Check List

Description Compieted Date _ Completed By

m _"_ " '_ ina " ' _ _

Comments:

tate Poiice Notified ? [No]

Comments:

mate Segregated ? [No]

Comments:

mate sent 10 Hospitel ? 1 [No] _

Comments:

mate Sent to Onsite i\/iedical Unit ? [No] 1

Comments:

ART Notified ’? [No]

Comments:

'arden Notified ? [No]

Comments:

Approval information

X 1 Approved 1 iDisapproved Date:02/_2§/20_12 Approved by: Giick, Lisa L_(Staff Lt./Lt)

lomments: N/A
Lead investigator information

Date: Time: investigator Name:

Comments:

CONF|DEN§IALLDOC000023

1i095582 Case 1:13-cv-01243-RGA Docunmnyritta]l=andi¥itgHM/09/l6 Page 35 of 47 PageiD #: 893
**_* SMYRNA DE 19977

Phone#: 302-653-9261

 

 

|NC|DENT REPORT
incident'# 1095587 Type: FY| incident Date:O2r123!2012 Time:12;32 Confidentiai: Yes 1
3roup#: 31125
Short Description: code 8 Supp|ement To: PREA: No
Faci|ity: JTVCC James T. \[a_ughn Correctional Center Fo||owup Required : @
Warrant Type: Warrant #: Offender States Rape: M

incident Location: Bidg-23 B Tier
Location Description:in_mate_ce_ii
Sexua| Al|egation:

Location Category:

Vio|ated Conditions: @Ler

Description of lncident:

On the above date and time l k-9 Scott Nicho|s responded to a code 8 in mhu 23. Once i entered the bldg i proceded to B tier.
As i came around the corner i saw that Lt. Giick was down at nurses station taking care of one 15. The Bidg staff was entering
B tier to secure the second inmate. i proceded on to the tier with Bidg staff and backed them up while the 15 was cuffed and
shackled in interview room. inmate was secured i went off tier and spoke with Lt. Giick to see if there was anything further. Lt.
Giick informed me it was under control and i could leave at that time,

1njured Persons f Nature of injury 11 Location

 

 

 

1141 11 1 N/A wm

Hospitalized : N/A

Med. Treatment Provided : N/A

iomments : N/A
_1_ Eviden:e information _ _ 1 1 _ _
11E1vidence Type C1oil1ec@ B_y1__ 1 1 1 1Date Coll1ected1! Secured By1 _
1a NrA NrA 11~114\ _

lomments: N/A

CONF|DEN§IAU_DOC000024

1095532 Case 1213-CV-01243-RGA DOCumefL-dndM 0©6/09/16 Page 36 0147 Page|D #Z 894

lncident# 1095587 Type: FY|
Sroup#; 31125
Short Description: codeB

 

` T;`rpe_i ` Na"`meineteile sel#
Categorv
neff1/ 1 Nichoie,scottA N/A
i/A Age: Sex:

Race:

SMYRNA DE 19977

 

Phone#: 302-653-9261
|NC|DENT REPORT

 

incident Date: 02;2312012

__irEi_viduais involved

feporting Officer: Nicho|s, Scott A (Correctional Officer)

\cident Outcome:

iomments:

Descnpdon

\ Notified ?

Comments:
tate Poiice Notified ?

Comments:

mate Segregated ?

Comments:
mate Sent to Hospitai ?

Comments:
mate Sent to Onsite i\/iedicai Unit ?

Comments:
ART Notified ?

Comments:
'arden Notified ?

Comments:

X Approved ;W_§Disapproved Date:02/23/2012

iomments: N/A

Supp|ement To:

 

Type of l Action 1 1_

Restraint Taken

Tinie:12;32 confidenciai: Yee

PREA:NO
l __ Tritle

Correctional Officer

Entered By:Nichois, Scott A (Correctional Officer)

Foilow-Up information

standard check List
1Compfeted Date

[NO]

[NO]

[NO]

[NO]

[NO]

[NO]

[NO]

 

1 cer}§jii§red By

 

Approval information

CONF|DB$EIAUDOCOOOOZS

Approved by: @ck, Lisa L (Staff Lt./Lt)

1095582 CaS€ lilS-CV-OJ_243-RGA

|ncident# 1095587 Type: FY|
3roup#: 31125
Short Description: codeB

Date: Time:

Comments:

DocurrBJn!m@l_andEM §§/09/16 Page 37 of 47 PageiD #: 895

SMYRNA DE 19977
Phone#: 302-653-9261

|NC|DENT REPORT

 

incident Date: 021"231'2012

Supp|ement To:
Lead investigator 1n1forrnatior\

investigator Name:

CONF|DBS|§IM_LDOC000026

Time: 12:32

Confidentia|: ‘r'es

PREA: No

1095582 Case 1:13-cv-01243-RGA DOCUFYQI_“YQQJ.-£.UEMY§/OWM Page 38 0147 PageiD #: 896
slviYRNA DE 19977

Phone#: 302-653-9261
|NC|DENT REPORT

 

 

incident# 1095582 Type: inmate involved incident D1ate:02/23/2012 Time: 12;30 Confidentiai: No

Sroup#: 31125

Short Description: inmate Fight Supp|ement To: PREA: No
Faci|ity: JTVCC James T. Vaughn Correctional Center FO"OWUP Required 5 §
Warrant Type: Warrant #: Offender States Rape: M

incident Location: _B|dQ-23 B Ti€l'
Location Description;i\/lHU 23 BU6

Sexuai Al|egation:
Location Category:

Vio|ated Conditions: LQg/_2_OO.2Q1 Assau|t

1.13 Fighting
2.03/200.106 Creatinq a Health, Safety or Fire Hazard

Description of incident:

On Thursday February 23, 2012 at 1230hrs, l Officer Jason Russeii was on Charlie tier with Sgt. Ernest Kemp and Officer
James Janusiewicz letting the inmates out to go to chow. When we exited the tier, | heard a ioud, continuous banging on Bravo
tier. As we entered Bravo tier the banging stopped l was signaled by multiple inmates that it was coming from the uppers. As i
came to Cell Upper 6, i observed blood splatter on the cell door window with inmate Cohen, Daniel #00470221 standing at the
sink with multiple small lacerations to his face and a deep laceration to his right hand with blood covering his clothes and inmate
Struman, Pernell crouched down beside the lockers with blood on his shirt and pants. The walls, floor, cell tabie,
and sink/toilet were covered with blood l radioed to the control pod to call a Code 8. To preserve the crime scene i instructed
inmate Cohen to back up to the door to be cuffed and removed from the ceii. inmate Cohen was secured in the Upper shower 1 1
and was instructed to not remove his clothing or wash his wounds in the shower. inmate Struman was then instructed to back
up to the door to be cuffed and was escorted to the Bravo interview room. BU6 cell was secured At this time, l stripped inmate 1
Struman and did not find a weapon but noticed blood on his hands and Cuts on his right hand. inmate was then shackled to the
tabie. i then asked inmate Struman were the weapon was and he stated l'i dong,t know what your talking about". i then exited
the tier and began my report while responders stood by. --EOR--

 

 

injured Persons Nature of injury 1 Location 1
)eniei, cohee B wm 1 1 1 11 NiA _
Hospitalized : [] Med. Treatment Provided : []
lomments : N/A
’erne|l, Struman N/A N/A
Hospitalized : [] Med. Treatment Provided : []
;omments ; inmate Cohen Sustained i\/iultipie Lacerations To The Face And Right Hand. inmate Struman Sustained Sma|l

Cuts To His Right Hand.

Evidence information
Evidence Type Col|ected By Date Col|ected Secured By

/A N/A N/A N/A

lomments: N/A

CONF|[IEBE]JIEEI.JDOC000027

_:11095532 Case 1:13-cv-01243-RGA Docun&i_n!rh@landl§`Ud/OWM Page 39 of 47 PageiD #: 897
SMYRNA DE 19977

Phone#: 302-653-9261

 

 

 

 

|NC|DENT REPORT
incident# 1095582 Type: inmate involved incident Date: 0212312012 Time: 12:30 Confidentiai: NO 1
Sr_oup#: 31125
Short Description: inmate Fight Suppiement To: PREA: NO
_ _ individuais involved
Type! NameiDetails SB!# 1__11 Type 01'_1__11 1 Type of Action Titie

Category Force Restraint Taken
tmate/ Struman, Pernell Handcuffs, Leg Given a medical N/A
l/A Age: 26 Sex: M Shackies examination,

Race: BLACK inmate

_ _ ___ _ _. _ _ _ Segregated _ _

tmate/ Cohee, Daniel B 00470221 Handcuffs inmate N/A
i/A -Age: 29 Sex: M Segregated

Race: WH|TE _ _ _ _
itaff/ Russell, Jason J N/A Handcuffs, Leg inmate Correctional Officer
i/A Age: Sex: Shackies Segregated

Race: _ _ _ _
;taff/ Janusiewicz, James J N/A Correctional Officer
i/A Age: Sex: 1

Race: _ 1 _ 1
itaff/ Kemp, Ernest A Jr . N/A 1 lCorrectiona| Officer
i/A Age: Sex: '

Race: _
leporting Officer:Russei|, Jason J (Correctional Officer) Entered By:Russeii, Jason J (Correctional Officer)

Fo|io\v:Upinformation
\cident Outcome:

tomments:

CONF||JEBEEHMJDOCOOOOZS

1095582 case 1:13-cv-01243-RGA Docurrsenyrhelandla'Me/oe/ls Page 40 0147 Pegeio #: 398
SMYRNA DE 19977
Phone#: 302-653-9261

|NC|DENT REPORT

 

 

 

 

|ncidenl# 1095582 Type: inmate involved incident Date: 02/23/2012 Time: 12:30 Confidential: No

3roup#: 31125

`-,thort Description: inmate Fighf Supp|ement To: PREA: No
Standard Check List

Description 1Compieted1 Date 1 Completed By

\Notified 2 _ _ 1 _1 [Ne] 1 1 1 _ 1 _

Comments:

tate Poiice Notified ? [No]

Comments:

mate Segregated ? [No]

Comments:

mate Sent to Hospita1’?_ _ 11 [No] _ _ __ _

Comments:

mate Sent to Onsite l\/iedlcai Unit ? [No]

Comments:

ART Notified ? [No] 1

Comments:

'arden Notified ’? [No]

Comments:

Approvai information
X ' Approved iDisapproved Date:O2/23/2012 Approved by: Giick,_Lisa L tStaff Lt./Lt)

iomments: i, Lt. Giick, interviewed both inmates invoived: inmate Daniel Cohee # 00470221 and inmate Pernell Struman #
. inmate Cohee received several lacerations and scratches to his facial area (left and right cheeks, left
neck area, and his nose bridge). inmate Cohee received a large gaping laceration on his left upper hand inmate
Struman received small scratches to his right side facial (eye area) and on his upper and inner right hand inmate
Struman's left eye was red (bioodshot) and his neck (left side) had some red areas. inmate Cohee stated that his
cellmate (Struman) became agitated and attacked him (Cohee), slicing him (Cohee) with what he believed was a
razor biade. inmate Cohee stated that he does not know why inmate Struman attacked him, but believed that it
may have been caused by comments made by other inmates on the tier. inmate Cohee stated that inmate Struman
flushed whatever weapon he was using down the toilet.

inmate Struman stated that he does not know what happened, and denies that that he assaulted inmate Cohee or
that he had possession of a weapon of any kind

inmate Struman was transferred to Sl-lU 18 CU7 iSO on pre-hearing detention. inmate Cohee was transported via

Primecare to Kent Genera| Hospitai for treatment of his injuries. i , Lt. Giick, took several digital photographs of
both inmate's injuries and several digital photographs of cell BU6, prior to securing it as a crime scene.

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1095582 CaSe 1213-CV-01243-RGA DOCUW$n!tfi:@l-dnd|-FFMOGG/OWJ_€ Page 41 0147 Pag€|D #Z 899
SMYRNA DE 19977

Phone#: 302-653-9261

 

 

|NC|DENT REPORT
incident# 1095582 Type: inmate involved |ncident 9318102!2312012 Time: 12:30 Confidentiai: No
3roup#: 31125
Short Description: inmate Fight Supp|ement To: PREA: No
Lead investigator information
Date: Time: investigator Name:
Comments:

CONF||JEBET!W_!DOCOOOO30

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EXHIBIT G

Case 1:13-cv-01243-RGA Document 101-1 Filed 06/09/16 Page 43 of 47 PageiD #: 901

DEPARTMENT OF CORRECTION
INVESTIGATION REPORT
Intcrnal Affairs

February 24, 2012

Warden Phelps,

I have conducted an investigation into the criminal assault between inmate
Cohee, Daniel # 470221 MH23 BU6B and inmate Struman, Purnell #i MHZS
BU6T. On February 23, 2012 at approximately 1230 hrs, inmate Struman and
inmate Cohee were locked into their respective cell after the commencing of chow.
At some point a verbal argument started between these inmates, and inmate
Struman produced a razor blade, and proceeded to cut inmate Cohee, causing
severe lacerations to his face and hands. Both inmates were scparated, secured using
handcuffs, and escorted from the arca. Inmate Cohee was initially attended to by
medical staff here at the Institution, and then was sent out by Prime Care
ambulance service to KGH, to have his lacerations sutured. Inmate Cohee was
returned to the Institution and housed in the DINF D233. Inmate Struman was also
seen by medical and cleared for isolation, inmate Struman is currently housed in
SH18 CL7 for Pre Hearing Dctention.

I have interviewed inmate Cohee about this incident and his possible intentions
for pressing charges against inmate Struman. Inmatc Cohee stated that “We were
both Walklng back from chow, and Sorne inmates Were making fun of Struman, I laughed
it off, and Struman thought I was laughing with them. We were both locked into our cell
and Struman jumped in his bunk with his legs hanging over the rail. Struman asked if I
though that shit was funny,' and l told him no, and that 1 was just trying to laugh it off, so
that they would leave you alonc. Struman then got quiet and had kind of a dazed look. l
turned around towards the mirror, and that’s when he jumped off the bunk, and started to
slash at me with a razor wrapped in cardboard He initially cut me on the face, and when l
tried to protect myself, is when he started trying to cut at my throat He sliccd both sides
of my face and my hand. I pushed him away after a brief struggle, and that’s when lie'
noticed all the blood and backed away. It Wasn’t long after that, is When the Officers
came on the tier and pulled us out from the cell”. I questioned inmate Cohee if he
Wanted to press charges? Inmate Cohee stated initially “No, but l know he has life
without parole, so he wonldn’t get anymore time, and it wouldn’t be worth the hassle”. I
stated to inmate Cohee, that it was his choice to pursue chargcs, and that it wouldn’t
matter about inmate Struman’s previous charges or sentence

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(Cohec Interview Cont.)

Inmate Cohee thought about=the incident for a min ute and then stated “Yon know ‘
what he needs to pay for this, and I don’t want to see'someone else get hurt being around
him. Yes l want to put charges on him”. I asked il` he had any other information that
he wanted to share about this incident. Inmate Cohee stated “No”.

I have also interviewed inmate Struman about this incident, and questioned him
about his involvement and the injuries that inmate Cohee received. Inmate Struman
statcd, “I don’t remember what happened, I blacked out. l remember corning back from
chow, being locked in, and jumping up on my bunk. l remember having an argument with
my cellie, but I don’t remember fighting with him”. I questioned inmate Struman
about the weapon he used, or if he had a razor at any point. Inmate Struman stated
“I never had a razor or had any reason to keep a razor. I would not have intentionally
tried to cut or hurt someone I remember that I was pushed backwards and that is when l
noticed that the cell was covered in blood. l also noticed that my cellie was bleeding from
several cuts on his face and hand. I asked what happened, and my cellie said I did it. l
don’t remember or believe that I caused the injuries to him”. I further questioned
inmate Struman about his history and he stated “I am currently being treated for
mental disorders and sleep disordersl l ain also taking medications for my problems, but
for some reason my medication haven’t been renewed. I have been taking Rispodol,
Paxil, and Zoloft. I am waiting for Mental Health to renew my prescriptions”. I
questioned this inmate if he wanted to add any other information or make any other
statements. Inmate Struman just asked if his cellie was going to be o.k.

As of today’s date the cell has been cleared for use. I have taken various pictures
of the cell and injuries. I have informed bldg staff to inventory a_ll property and send
to the property room. The room has been cleaned by the Bio-Hazard Crew from W-
Bldg.

Lt. S. Baynard
Investigations
Ext. 2297

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EXHIBIT H

Case 1:13-cv-01243-RGA Document 101-1 Filed 06/09/16 Page 46 of 47 PageiD #: 904

Niarch 07, 2012

Grand_ Jury Synopsis

Defendant: Struman, Pernell #l (D.O.B )
Victim: Cohee, Daniel #00470221 (D.O.B 05/06/82)
Summary:

On February 23, 2012 at approximately 1230 hrs, both inmate Struman and inmate Cohee
were locked into their assigned cell after the feeding of |unch. An argument ensued inside the cell
between both parties about an incident that occurred at lunch. At Some point during this
argumentl inmate Struman produced an open razor bladel proceeded to siash at inmate Cohee,
resulting in severe lacerations to inmate Cohee’s face and hand Statf were notified of this
incident and responded to the tier, to separate and secure both inmates inmate Cohee received
several lacerations to his facel and one severe laceration to his right hand inmate Cohee was
seen by, onboard medical staff, which made a decision based on the wounds received, that he be
sent to a medical facility, to have these wounds treated inmate Cohee was treated for his
wounds and returned to the institution Within several hours of this incidentl

Cohee, Daniel Statement:

“We" were both walking back from chow, and some inmates were making fun of
Struman, I laughed it off, and Struman thought I was laughing with them. We were both
locked into our cell and Struman jumped in his bunk with his legs hanging over the rail.
Struman asked if I though that shit was funny, and I told him no, and that I was just
trying to laugh it off, so that they would leave you alone. Struman then got quiet and had
kind of a dazed look. I turned around towards the mirror, and that’s when he jumped off
the bunk, and started to slash at me with a razor wrapped in cardboard He initially cut
me on the face, and when l tried to protect myself, is when he started trying to cut at my
throat. He sliced both sides of my face and my hand. I pushed him away after a brief
Struggle, and that’s when he noticed all the blood and backed away. lt wasn’t long after
that, is When the Officers came on the tier and pulled us out from the cell”.

\Struman, Pernell Statement:

“I don’t remember what happened, I blacked out. I remember coming back from
chow, being locked in, and jumping up on my bunk. l remember having an argument with
my cellie, but l don’t remember fighting with him”. I questioned inmate Struman
about the weapon he used, or if he had a razor at any point. Inmate Struman stated
“I never had a razor or had any reason to keep a razor. I would not have intentionally
tried to cut or hurt someone I remember that I was pushed backwards and that is when I
noticcd that the cell was covered in blood. I also noticed that my cellie was bleeding from
several cuts on his face and hand. I asked what happened, and my cellie said I did it. l
don’t remember or believe that I caused the injuries to him”

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The above summary and statements are true and factual to the best of my
knowledgel This information was gathered through an official investigation that was
conducted by Lt. Stanley Baynard of the Internal Investi-gations Department.

Investigator I.A;
Lt. Stanley Baynard

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